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                IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         NORTHERN DIVISION


UNITED STATES                                                    PLAINTIFF


VS.                            CRIMINAL ACTION NO: 3:12-cr-88-DCB-FKB
                                     CIVIL ACTION NO: 3:14-cv-892-DCB


BOOKER TARVIN                                                    DEFENDANT

      ORDER FOR GOVERNMENT TO RESPOND TO SECTION 2255 MOTION

      This cause is before the Court sua sponte, pursuant to Rule

4(b) of the Rules Governing § 2255 Proceedings, and having reviewed

the petitioner’s Motion to Vacate under 28 U.S.C. § 2255, the Court

finds that a response to the motion by the government is required.

      Accordingly,

      IT IS HEREBY ORDERED that the United States Attorney shall

file an answer to the petitioner’s motion under 28 U.S.C. § 2255 to

vacate, set aside or correct his sentence in criminal action no.

3:12-cr-88, within thirty (30) days from the date of entry of this

Order.

      SO ORDERED this the 24th day of November 2014.


                                           /s/ David Bramlette
                                        UNITED STATES DISTRICT JUDGE




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